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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION


 ARTIS WHITEHEAD,                                )
                                                 )
        Plaintiff,                               )
                                                 )        No. 2:24-cv-02991-TLP-atc
 v.                                              )
                                                 )        JURY DEMAND
 CITY OF MEMPHIS, et al.,                        )
                                                 )
        Defendants.                              )


                                   ORDER OF RECUSAL


       The Court hereby recuses itself in the above-captioned matter and respectfully

DIRECTS the Clerk to reassign this case to another United States District Judge for all further

proceedings.

       SO ORDERED this 13th day of December, 2024.

                                              s/Thomas L. Parker
                                             THOMAS L. PARKER
                                             UNITED STATES DISTRICT JUDGE
